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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                 Plaintiff,                           )
                                                      )
         vs.                                          )      Case No. 20-cv-13293
                                                      )
 INTERNATIONAL UNION, UNITED                          )
 AUTOMOBILE, AEROSPACE, AND                           )
 AGRICULTURAL IMPLEMENT WORKERS                       )
 OF AMERICA,                                          )      Hon. David M. Lawson
                                                      )
                 Defendant.                           )

         UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR THE UAW
                         AND BRIEF IN SUPPORT

         Certain outside counsel for Defendant International Union, United Automobile, Aerospace,

 and Agricultural Implement Workers of America (“UAW”), attorneys Terence H. Campbell and

 Eric S. Pruitt, and the law firm of Cotsirilos, Tighe, Streicker, Poulos & Campbell, respectfully

 move the Court to enter an Order granting them leave to withdraw from the representation of

 Defendant UAW pursuant to this Unopposed Motion.           In support of this Unopposed Motion,

 movants states as follows:

    1. This case involves a civil consent decree which fully resolved a years-long criminal

         investigation by the U.S. Attorney’s Office with no criminal charges against the UAW.

    2.   Attorneys Terence Campbell and Eric Pruitt of the law firm of Cotsirilos, Tighe, Streicker,

         Poulos & Campbell (“Attorneys”) have appearances on file on behalf of Defendant UAW

         in this case.

    3. The UAW’s newly-elected president recently informed Attorneys that the UAW no longer

         wishes to have Attorneys represent the UAW in ongoing matters and directed Attorneys to
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        cease their representation of the UAW, including in this case.

    4. Per the communication from the newly-elected UAW president, it is Attorneys’

        understanding that the UAW has retained, or is retaining, new outside counsel to represent

        it in open matters.

    5. Given that Attorneys have not been actively representing the UAW in this matter for some

        time already, and given the fact that we understand the UAW has retained new outside

        counsel to represent it in open matters, allowing Attorneys to withdraw here will not

        prejudice the UAW; and granting this unopposed motion is in accord with the client’s (as

        conveyed by the newly-elected UAW president) wishes and direction.

    6. In accord with Local Rule 7.1, movant Attorneys have communicated with counsel for the

        plaintiff in this matter, and the plaintiff has no objection to this Motion to Withdraw.

    WHEREFORE, the movant Attorneys respectfully request the Court grant this Unopposed

 Motion and enter an Order granting Attorneys’ request to withdraw their appearances on behalf of

 the UAW in this case.

                                              Respectfully submitted,

                                              /s/ Terence H. Campbell
                                              Terence H. Campbell
                                              Eric S. Pruitt
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2023, this Unopposed Motion for Leave to Withdraw as

 Counsel for the UAW was electronically filed with the Clerk of the Court using the ECF System,

 which will provide electronic copies to counsel of record.



                                              /s/ Terence H. Campbell
                                              Terence H. Campbell (Illinois Bar #6228959)




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